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                        IN THE UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF ARKANSAS
                                 WESTERN DIVISION

UNITED STATES OF AMERICA                                                                   PLAINTIFF

v.                                     NO. 4:14CR00098 JLH

HAROLD MCCOY
and KARYNN LONG                                                                        DEFENDANTS

                                               ORDER

        Pending before the Court are defendant Karynn Long’s Motion to Sever and the

government’s Motion for Continuance of the June 23, 2014 trial date as to defendant Harold McCoy.

        Defendant Harold McCoy appeared for plea and arraignment on May 20, 2014, and was

assigned a trial date of June 23, 2014. Defendant Karynn Long was subsequently arraigned on

June 12, 2014, and assigned a trial date of July 14, 2014. McCoy’s motion to proceed pro se has

previously been granted by this Court, and McCoy informed the Court and the government that he

wished to proceed to trial as scheduled on June 23, 2014.

        Pursuant to the Speedy Trial Act, 18 U.S.C. § 3161(c)(2), unless the defendant consents in

writing to the contrary, the trial shall not commence less than thirty days from the date on which the

defendant first appears through counsel. In this instance, Long appeared before Judge Kearney on

June 12, 2014. Long has not consented in writing to go to trial less than thirty days from her initial

appearance. In fact, she has filed a motion for continuance of her July 14, 2014 trial date, which will

be addressed by separate order. Forcing her to proceed to trial with pro se defendant McCoy on a

date less than thirty days from her arraignment would be unduly prejudicial to her right to a fair trial.

Therefore, the motion to sever is GRANTED. Document #31.

        The Court has fully considered the government’s motion for continuance of the June 23,

2014 trial date as to defendant McCoy, and finds that the interests of justice served by granting the
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continuance outweighs the best interest of the public and defendant for a speedy trial in that the

issues herein are such that to deny the motion would deny the government the opportunity to have

essential out-of-state witnesses present for trial.

        IT IS THEREFORE ORDERED that the government’s Motion for Continuance be, and it

is hereby, GRANTED. Document #30. The jury trial of defendant Harold McCoy is rescheduled

to begin at 9:15 a.m. on WEDNESDAY, JULY 9, 2014, in Courtroom #4-D, Richard Sheppard

Arnold United States Courthouse, Little Rock, Arkansas. Counsel are to be present thirty minutes

prior to trial. Jury instructions should be electronically submitted to the Court by JULY 7, 2014,

in WordPerfect format to jlhchambers@ared.uscourts.gov.

        IT IS FURTHER ORDERED that the delay occasioned by this continuance shall be

excludable under the provisions of the Speedy Trial Act, 18 U.S.C. § 3161(h)(3)(A).

        Dated this 19th day of June, 2014.


                                                          _________________________________
                                                          J. LEON HOLMES
                                                          UNITED STATES DISTRICT JUDGE




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